                           UNITED STATES DISTRICT COURT
                             DISTRICT OF RHODE ISLAND

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )              No. 1:20-CR-00093-MSM-PAS-1
            vs.                     )
                                    )
RHODE ISLAND BEEF AND VEAL, INC. )
____________________________________)

            ASSENTED TO MOTION TO CONTINUE SENTENCING HEARING

       Defendant Rhode Island Beef and Veal, Incorporated, by and through undersigned

counsel, hereby moves this Honorable Court to enter an order continuing the sentencing hearing

in this matter scheduled for September 7, 2023 to a date during the week of October 10, 2023 or

October 16, 2023. As the basis for this motion, undersigned counsel avers that the company has

a PSR interview scheduled with United States Probation on August 11, 2023, and the company

needs additional time to work with Probation to complete the pre-sentence process. Undersigned

counsel has conferred with Assistant United States Attorney Zechariah Chafee and he ASSENTS

to this motion.

                                           Respectfully submitted,

                                           RHODE ISLAND BEEF AND VEAL, INC.

                                           By Its Attorney,

                                           /s/ Gary G. Pelletier
                                           Gary G. Pelletier (RI Bar #5723)
                                           PELLETIER CLARKE & CALEY, LLC
                                           35 Touro Street
                                           Newport, RI 02840
                                           Tel. (401) 849-4400
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                                           gpelletier@pcclaw.net
Dated: August 1, 2023
                                CERTIFICATE OF SERVICE

        I, Gary G. Pelletier, hereby certify that on August 1, 2023, I served a true copy of the
within motion upon Assistant United States Attorneys Zechariah Chafee and Dulce Donovan,
and all other registered parties via ECF.


                                              /s/ Gary G. Pelletier




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